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                   IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00520-JNP

               Plaintiff,                      MOTION TO MODIFY PRETRIAL
                                               RELEASE CONDITIONS AND
 v.                                            REQUEST FOR HEARING

 ALLISON BAVER,                                District Court Judge Jill N. Parrish
                                               Magistrate Judge Cecilia M. Romero
               Defendant.



       The United States, by and through the undersigned Assistant United States

Attorneys, respectfully moves this Court to amend the defendant’s conditions of pretrial

release to include a no contact order in this case. In support of this motion, the United

States relies on the following:

       A nine-count indictment was filed on December 15, 2021, charging defendant

ALLISON BAVER (hereinafter, the “Defendant”) with False Statements to a Bank, in

violation of 18 U.S.C. § 1014, and Money Laundering, in violation of 18 U.S.C. § 1957.

On January 18, 2022, the Defendant appeared in court for her initial appearance and

arraignment. At that hearing, the Court imposed certain conditions of release for the
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Defendant. 1 A no-contact order was not imposed.

           On or about May 14, 2022, the United States was advised by a potential witness in

this case (R.M.) that the Defendant had approached R.M. and yelled at R.M. because

R.M. provided certain information about the Defendant to the United States in connection

with this case. (The information provided by R.M. to the United States was produced as

part of discovery.) R.M. advised that the Defendant threatened to sue R.M. That same

weekend, the Defendant was observed on multiple occasions using her cell phone to film

the front of R.M.’s home. R.M. reported to the United States that they felt harassed by the

Defendant’s conduct and by her statements. The Defendant and R.M. are neighbors. R.M.

provided to the United States copies of security surveillance videos that corroborate

R.M.’s statements about the Defendant’s actions.

           A court has the inherent power to protect witnesses. See Wheeler v. United States,

640 F.2d 1116, 1123 (9th Cir. 1981); United States v. Kirk, 534 F.2d 1262 (8th Cir.

1976). The Supreme Court recognized a trial judge’s broad discretion to protect the

administration of justice from “abuses, oppression, and injustice.” Bitter v. United States,

389 U.S. 15, 16 (1976). See also United States v. De Castro-Font, 587 F. Supp.2d 364,

368-69 (D. P.R. 2008) (“The prohibition of contacts with victims or persons who are or

may be witnesses is, logically, prophylactic. It is predicated on the Court’s inherent

power to protect victims and witnesses. It seeks to prevent a defendant from intimidating

someone who, by nature of being a victim or a potential witness, is already in a difficult



1
    “Order Setting Conditions of Release,” Docket No. 13.


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and delicate position.”).

       Based on the Defendant’s conduct and statements toward R.M., to include the

Defendant’s stated anger at R.M. and threats to sue R.M. because R.M. provided

information to the United States, the United States believes that a no-contact order is

warranted in this case. The United States does not wish to exclude reasonable efforts by

Defendant’s counsel to investigate or prepare for trial. Rather, the United States is

seeking to prevent the Defendant from engaging in harassing, intimidating, and/or

threatening behavior directed at potential witnesses. Notably, the Defendant and R.M. are

neighbors, so the potential is high for continued harassment by the Defendant.

       The United States contacted defense counsel on or about May 16, 2022 to advise

counsel about the alleged contact between the Defendant and R.M., as well as the United

States’ intent to seek a modification of the Defendant’s release conditions to include a no-

contact order. At the time of this filing, defense counsel has not provided the United

States with its position on this motion.

       For the foregoing reasons, and any other reasons that may be elicited at a hearing

on this matter, the United States respectfully requests that this Court modify the

Defendant’s pretrial release conditions to include an order that Defendant avoid all

contact, directly or indirectly, with any person who is or may be a potential witness in

this case. The United States further requests that the no-contact order specify that the

Defendant shall not engage in any harassing, threatening, abusive, or stalking behavior

toward any witness in this case. The United States further requests a hearing on this

motion.

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   DATED this 2nd day of June, 2022.
                                           TRINA A. HIGGINS
                                           United States Attorney

                                            /s/ Jennifer K. Muyskens
                                           Jennifer K. Muyskens
                                           Assistant United States Attorney




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